Case 4:24-cr-00200-BLW Document 2-

1 Filed 08/27/24 Page 1of2

CRIMINAL COVERSHEET
DEFENDANT’S NAME: Chad Michael Kulow JUVENILE: No
DEFENSE ATTORNEY: U.S COURTS
Address: PUBLIC or SEALED: Public
AUG 27 2024 SERVICE TYPE: Warrant
“i (7 Summons or Warrant or
Aevd.—— filles WV. L-Fval LS otice (if Superseding))
Telephone No.: CLERK, DISTRICT OF IDAHO ISSUE: Yes

INVESTIGATIVE AGENT: Lathan Sidebottom INTERPRETER:

Telephone No.: (208) 541-1037
AGENCY: U.S. Fish & Wildlife

If YES, language:

CASE INFORMATION:

RELATED COMPLAINT: No
CASE NUMBER:

CR-24-00200E -Biw

CRIMINAL CHARGING INFORMATION

CHARGING DOCUMENT: Indictment

Felony: Yes County of Offense: Bear Lake
Class A Misdemeanor: No Estimated Trial Time: 4 days
Class B or C Misdemeanor: No
(Petty Offense)
STATUTE COUNT! PENALOIES
(Title and Section(s)) FORFEITURE | BRIEF DESCRIPTION (Include Supervised Release
ALLEGATION and Special Assessment)
18 U.S.C. § 371 ONE Conspiracy Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment
16 U.S.C. §§ 3372(a)(1), 3373 TWO Lacey Act Violation Up to 5 years imprisonment,
(d)(1)(B) and 18 U.S.C. § 2 maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment
16 U.S.C. §§ 3372(a)(1), 3373 THREE Lacey Act Violation Up to 5 years imprisonment,
(d)(1)(B) and 18 U.S.C. § 2 maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment
16 U.S.C. §§ 3372(a)(1), 3373 FOUR Lacey Act Violation Up to 5 years imprisonment,
(d)(1)(B) and 18 U.S.C. § 2 maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

Case 4:24-cr-00200-BLW Document 2-1 Filed 08/27/24 Page 2 of 2

16 U.S.C. §§ 3372(a)(1), 3373
(d)(1)(B) and 18 U.S.C. § 2

FIVE

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(2)(a),
3373 (d)(1)(B) and 18 U.S.C.

§ 2

SIX

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(2)(a),
3373 (d)(1)(B) and 18 U.S.C.

§2

SEVEN

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(1), 3373
(d)(1)(B) and 18 U.S.C. § 2

EIGHT

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(1), 3373
(d)(1)(B) and 18 U.S.C. § 2

NINE

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(2)(a),
3373 (d)(1)(B) and 18 U.S.C.

§2

TEN

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(2)(a),
3373 (d)(1)(B) and 18 U.S.C.

§ 2

TWELVE

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3372(a)(2)(a),
3373 (d)(1)(B) and 18 U.S.C.

§2

THIRTEEN

Lacey Act Violation

Up to 5 years imprisonment,
maximum of $250,000 fine,
up to 3 years of supervised
release and $100 special
assessment

16 U.S.C. §§ 3374(a)(2) and
28 U.S.C. 2461(c)

Forfeiture

Date: 27 August 2024

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Assistant U.S. Attorney: JUSTIN K. PASKETT f (i t-

Telephone No.:

(208) 478-4166

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CR-24-00200E-BLW

